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 6                         IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   William Hayes, Jr.,                           No. CV-16-00337-TUC-JAS (DTF)
10                 Petitioner,
                                                   REPORT AND
11   v.                                            RECOMMENDATION
12   Charles Ryan, et al.,
13                 Respondents.
14
15          Petitioner William Hayes, Jr. (Petitioner), presently incarcerated at the
16   Arizona State Prison Complex – Central Arizona Correctional Facility, in
17   Florence, Arizona, filed a Petition for Writ of Habeas Corpus pursuant to 28
18   U.S.C. § 2254 (Petition). Pursuant to the Rules of Practice of the Court, this matter
19   was referred to Magistrate Judge Ferraro for Report and Recommendation. Before
20   the Court are the Petition and Respondent’s Limited Answer to Petition for Writ of
21   Habeas Corpus. (Docs. 1 and 8.) The Magistrate Judge recommends that the
22   District Court, after its independent review of the record, dismiss the Petition.
23                                       Background
24          The Arizona Court of Appeals determined the facts as follows:
25
            In June 2011, Hayes stopped S.W. as she was walking down the
26          street, persuaded her to enter his vehicle and drove around with her
27          for a while before ultimately taking her to a park. Once there, Hayes
            threatened to shoot S.W., touched her breasts, and penetrated her
28          vagina. She later identified Hayes in a photographic lineup, and his
 1   DNA was found on a swab taken from S.W.’s vagina.
 2
     In November 2011, C.M. was involved in an automobile collision and
 3   went to a nearby convenience store to use a telephone. While there,
 4   she met Hayes, who told her he knew an attorney who could help her
     and she could use his telephone. Hayes and C.M. went to his
 5
     apartment, but once inside Hayes showed her a gun, pushed her down,
 6   licked her vagina, touched her breasts, and penetrated her vagina with
 7   his penis. Hayes’ DNA was found in swabs taken from C.M.’s vagina
     and abdomen.
 8
 9   In April 2012, B.R. met Hayes and went with him to his apartment.
     There, Hayes pushed B.R. down on a couch. Removed her clothing,
10   and attempted to penetrate her with his penis. He then spit on one or
11   more of his fingers      and inserted them into her vagina. B.R.
     eventually escaped and called 9-1-1. She showed officers the
12
     apartment and identified Hayes before going to the hospital and being
13   examined by a nurse. Police later searched the apartment and found
14   methamphetamine and drug paraphernalia.

15   Hayes was charged with sexual assault, kidnapping, possession of a
16   dangerous drug, and possession of drug paraphernalia in relation to
     the sexual assault of B.R. He was also charged with attempted sexual
17   assault and sexual abuse of B.R.; sexual abuse, kidnapping, and two
18   counts of sexual assault of C.M.; and kidnapping, sexual assault, and
     sexual abuse of S.W.
19
20   In July 2012, while in the county jail, Hayes transferred money to
21   Bridgett Miller, whom B.R. testified she had seen on the bus, and
     apparently sought to have Miller influence B.R. not testify against
22   him. Hayes was charged in a separate cause number with attempted
23   tampering with a witness, and that charge was consolidated with the
     others for trial.
24
25   The jurors became deadlocked on some of the counts, but found
     Hayes guilty on six counts – the drug counts, the witness tampering
26
     count, and the charges relating to the sexual assault of B.R. – and not
27   guilty on the count of sexual abuse of B.R. The remaining counts were
28   set for a new trial, which proceeded without objection. Hayes was
     convicted on the remaining counts at that trial, and the trial court

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 1         sentenced him to presumptive, consecutive and concurrent prison
 2         terms, totaling 31.5 years.
 3   (Doc. 8 at Ex. A. at p. 1, ¶¶ 2-7.) (Footnotes omitted.)
 4         Petitioner timely appealed and the Arizona Court of Appeals affirmed. (Id. at
 5   Ex. A.) The Arizona Supreme Court denied Petitioner’s petition for review. (Id. at
 6   Ex. B at p. 7.) Thereafter, Petitioner timely filed a notice of post-conviction relief
 7   (PCR) and was assigned counsel. (Id. at Ex. C.) Petitioner’s court appointed
 8   counsel filed a petition for PCR asserting three claims of ineffective assistance of
 9   counsel. (Id.) The trial court determined Petitioner’s claims were without merit and
10   dismissed his PCR petition. (Id.) Thereafter, Petitioner petitioned the Arizona
11   Court of Appeals for review. (Id. at Ex. D at ¶ 1.) The court of appeals determined
12   the trial court had “clearly identified the claims [Petitioner] had raised and resolved
13   them correctly in a thorough, well-reasoned minute entry.” (Id. at ¶ 5.) No petition
14   for review in the Arizona Supreme Court was filed. (Id. at Ex. E at p. 2.)
15                                       The Petition
16         Petitioner timely filed the instant Petition asserting three grounds for relief.
17   In Ground One, Petitioner alleges that his trial counsel was ineffective by
18   inadequately preparing for trial. (Doc. 1 at p. 6.) In Ground Two, Petitioner alleges
19   is trial counsel failed to “secure an expert[] or otherwise prepare for testimony[.]”
20   (Id. at p. 7.) In Ground Three, Petitioner alleges that his trial counsel’s “deficient
21   performance caused [him] to be denied his Fifth Amendment right to have his trial
22   completed by a particular jury as to Count[s] 8 and 9 of the Indictment.” (Id. at p.
23   8.) Petitioner presented all three grounds for relief in the trial court as well as the
24   court of appeals. (Doc. 8 at Exs. C, D, and E.)
25         As more fully explained below, Petitioner fails to establish that he is entitled
26   to habeas relief under either the “contrary to” clause or “unreasonable application”
27   clause of 28 U.S.C. § 2254(d)(1).
28   …


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 1         Legal Standard
 2         The Petition is governed by the Anti-Terrorism and Effective Death Penalty
 3   Act (AEDPA). 28 U.S.C. § 2254. Under the AEDPA, the Court “must defer to the
 4   state court’s resolution of federal claims,” Delgadillo v. Woodford, 527 F.3d 919,
 5   924 (9th Cir. 2008), and may grant habeas relief only if the state court’s decision
 6   is:
 7         (1) contrary to, or involved an unreasonable application of, clearly
           established Federal law, as determined by the Supreme Court of the
 8         United States; or
 9
           (2) resulted in a decision that was based on an unreasonable
10         determination of the facts in light of the evidence presented in the
11         State court proceeding.
12   28 U.S.C. § 2254(d). The United States Supreme Court explained:
13
           Under the ‘contrary to’ clause, a federal habeas court may grant the
14         writ if the state court arrives at a conclusion opposite to that reached
15         by the Court on a question of law or if the state court decides a case
           differently than this Court has on a set of materially indistinguishable
16         facts. Under the ‘unreasonable application’ clause, a federal habeas
17         court may grant the writ if the state court identifies the correct
           governing legal principle from this Court’s decisions but unreasonably
18         applies that principle to the facts of the prisoner’s case.
19   Williams v. Taylor, 529 U.S. 362, 412-13 (2000).
20         In determining the state court’s resolution of federal claims, a habeas court
21   reviews the last reasoned state-court decision. Barker v. Fleming, 423 F.3d 1085,
22   1091 (9th Cir. 2005). When a state court does not explain the reason for its
23   decision, a habeas court will “look through” to the last state court decision that
24   provided a reasoned explanation capable of review. Shackleford, v. Hubbard, 234
25   F.3d 1072, 1079 n.2 (9th Cir. 2000). Here, the Arizona Court of Appeals adopted
26   the trial court’s resolution of Petitioner’s claims. (Doc. 8 at Ex. D at ¶ 5.)
27   Accordingly, the last reasoned decision of the state court is the state court’s denial
28   of Petitioner’s claims during his PCR proceedings. (Id. at Ex. C.)


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 1         The State Court’s Decision was not Contrary to Clearly Established
 2         Federal Law
 3         As mentioned above, a federal habeas court may issue a writ of habeas
 4   corpus under the “contrary to” clause only if the state court applies a different rule
 5   from the governing law set forth in Supreme Court cases, or if it decided a case
 6   differently than the Supreme Court has done on a materially indistinguishable set
 7   of facts. Williams, 529 U.S. at 405-06. The standards for review of an ineffective
 8   assistance of counsel claim under Strickland v. Washington, 466 U.S. 668, 694
 9   (1984) require a petitioner to establish that (1) “counsel’s performance was
10   deficient,” and (2) “there is a reasonable probability that, but for counsel’s
11   unprofessional errors, the result of the proceeding would have been different.”
12         Here, in resolving Petitioner’s PCR petition the state court correctly applied
13   Strickland. (Doc. 8 at Ex C at p. 3 (“To establish a claim of ineffective assistance
14   of counsel warranting relief, a defendant must show that counsel’s actions fell
15   below objective reasonableness and that counsel’s deficient performance was
16   prejudicial. Strickland v. Washington, 466 U.S. 668 (1984)[.]”).) Additionally,
17   there is nothing before the Court from which it can conclude that the state court
18   decided Petitioner’s case differently than the Supreme Court has done on a set of
19   materially indistinguishable facts. (See Doc. 1.) Accordingly, the Court determines
20   that Petitioner is not entitled to habeas relief under the “contrary to” clause of §
21   2254(d).
22         The State Court did not Unreasonably Apply Clearly Established Federal
23         Law
24         “[A] federal habeas court making the ‘unreasonable application’ inquiry
25   should ask whether the state court’s application of clearly established federal law
26   was objectively unreasonable.” Williams, 529 U.S. at 410. This Court’s review of
27   the state court’s decision under § 2254(d)(1) is “particularly deferential to [its]
28   state court colleagues.” Taylor v. Maddox, 366 F.3d 992, 999-1000 (9th Cir. 2004),


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 1   abrogated on other grounds by Murray v. Schriro, 745 F.3d 984 (9th Cir. 2014). In
 2   Harrington v. Ritcher, the United States Supreme Court held:
 3
           The standards created by Strickland and § 2254(d) are both ‘highly
 4         deferential,’ […] and when the two apply in tandem, review is
 5         ‘doubly’ so […] The Strickland standard is a general one, so the range
           of reasonable applications is substantial. […] Federal habeas courts
 6         must guard against the danger of equating unreasonableness under
 7         Strickland with unreasonableness under § 2254(d). When § 2254(d)
           applies, the question is not whether counsel’s actions were reasonable.
 8
           The question is whether there is any reasonable argument that counsel
 9         satisfied Strickland’s deferential standard.
10   562 U.S. 86, 106 (2011). (Internal citations omitted.) An unreasonable application
11   of federal law is different from an incorrect application of federal law. Williams,
12   529 U.S. at 410. (Emphasis in original.) “Even a strong case for relief does not
13   mean that the state court’s contrary conclusion was unreasonable.” Richter, 562
14   U.S. at 102. Richter held:
15
           Under § 2254(d), a habeas court must determine what arguments or
16         theories supported or […] could have supported[] the state court’s
17         decision; and then it must ask whether it is possible fair[-]minded
           jurists could disagree that those arguments or theories are inconsistent
18         with the holding in a prior decision of [the Supreme] Court.
19   Id. See also Murray v. Schriro, 745 F.3d 984, 996 (9th Cir. 2014) (“To assess
20   whether a petitioner has met this burden, we must ask ‘what arguments or theories
21   supported or … could have supported the state court’s decision,’ and determine
22   ‘whether it is possible fair[-]minded jurists could disagree that those arguments or
23   theories are inconsistent with the holding in a prior decision of’ the Supreme
24   Court.”)
25         Ground One: As mentioned above, Petitioner alleges in Ground One that he
26   received ineffective assistance of counsel when his trial counsel failed to
27   adequately prepare for trial. (Doc. 1 at p. 6.) Examination of the state court’s order
28   rejecting Petitioner’s claim leads this Court to conclude that the state court


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 1   reasonably applied Strickland’s guidance that strategic decisions are reasonable, to
 2   the extent they are supported by “reasonable professional judgment.” See
 3   Strickland, 466 U.S. at 690-91. The trial court determined:
 4
           First, Petitioner argues that due to inadequate trial preparation, trial
 5         counsel failed to adequately cross-examine B.R. or recall her to
 6         counter testimony by the nurse who examined her.
 7         This satisfies neither prong of Strickland. Petitioner fails to point out
 8         any way in which trial counsel’s preparation was inadequate. Nor
           does he overcome the strong presumption that trial counsel made this
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           decision for strategic reasons. It is feasible that trial counsel may
10         have wanted to approach cross-examination of an alleged victim of
11         sexual assault delicately and point out any inconsistencies in her
           testimony in closings in lieu of direct confrontation. Trial counsel did,
12         in fact, point to the discrepancies in B.R.’s statements in closings in
13         order to argue that B.R’s version of events was not credible or
           believable. Trial counsel may have decided not to recall B.R. for the
14         same reason.
15
           Furthermore, in Petitioner’ statement to police, he admitted that he
16
           had penetrated B.R. with his finger. The State did not use the
17         statement at trial because Petitioner did not dispute that the acts
18         occurred. Petitioner’s DNA was found on all three victims. Rather,
           Petitioner urged the acts were consensual. However, had trial counsel
19         confronted B.R. in order to elicit more definite testimony that
20         Petitioner never penetrated her with his finger, the State might have
           introduced Petitioner’s own statement to police. Additionally,
21         although arguing consent did not legally preclude trial counsel from
22         arguing that the evidence did not prove penetration, she may
           nonetheless have determined that making both arguments would
23
           undermine the consent defense.
24
25         Petitioner also fails to demonstrate prejudice resulting from trial
           counsel’s conduct. Petitioner argues that if trial counsel had
26         effectively cross-examined B.R. or recalled her to counter Nurse
27         Crocker’s testimony, B.R. would have testified that her statements to
           Nurse Crocker were incorrect, and as a result, the trial court would
28         have granted Defendant’s Rule 20 motion.


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 1
 2         Rule 20 of the Arizona Rules of Criminal Procedure directs a court to
           enter a judgment of acquittal on one or more offenses charged in an
 3         indictment, information or complaint after the evidence on either side
 4         is closed ‘if there is no substantial evidence to warrant a conviction.’
           A conflict between the testimony of two witnesses does not preclude a
 5
           jury from finding a person guilty beyond a reasonable doubt. Rather it
 6         is not the jury to assess the credibility of witnesses. Given that B.R.’s
 7         statement to Nurse Crocker occurred much closer in time to the
           assault, a jury could reasonable find that statement to be the more
 8         credible of the two.
 9
           Furthermore, the Court of Appeals rejected Petitioner’s argument that
10         based on B.R.’s testimony at trial, there was insufficient evidence to
11         sustain his conviction for sexual assault of B.R. If there was sufficient
           evidence to convict, there was sufficient evidence to deny Petitioner’s
12
           Rule 20 motion and send the case to the jury.
13
14         Ultimately, further examination of B.R. regarding her statements to
           Nurse Crocker would not have brought to light new exculpatory
15         information not present in the record when the trial court ruled on
16         Petitioner’s Rule 20 motion. Rather it would not serve to highlight a
           conflict in testimony already in the record. Accordingly, there is not a
17         reasonable probability that, but for this alleged error, the trial court
18         would have granted Petitioner’s Rule 20 motion.
19   (Doc. 8 at Ex. C. at pp. 3-4.)
20         The state court’s analysis in its order denying Petitioner’s PCR petition is
21   not an unreasonable application of Strickland. Accordingly, Petitioner is not
22   entitled to habeas relief on Ground One of his Petition.
23         Ground Two: As stated above, Petitioner alleges in Ground Two that his trial
24   counsel failed to secure an expert or prepare for trial testimony concerning
25   toluidine blue dye uptake to discover microscopic injuries. (Doc. 1 at p. 7.) An
26   examination of the trial court’s order rejecting Petitioner’s claim establishes that
27   the trial court reasonably applied Strickland’s guidance that strategic decision are
28   reasonable, to the extent they are supported by “reasonable professional


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 1   judgment.” See Strickland, 466 U.S. at 690-91. The trial court determined:
 2
           Trial counsel’s decision not to secure an expert to testify regarding the
 3         use of toluidine blue dye could have been a strategic or tactical
 4         decision. Petitioner states in his Petition that ‘[h]ad the jury received
           correct information about toluidine dye uptake, the abrasion to the
 5         victim’s labia minora would have had little impact and would not
 6         have supported nurse Crocker’s hearsay testimony which contradicted
           the victim’s unequivocal testimony that no penetration occurred.’
 7
           Trial counsel may have chosen not to challenge Nurse Crocker’s
 8         testimony for the same reason she chose not to confront B.R. about
 9         her previous statements to Nurse Crocker. The purpose of calling an
           expert to testify about the application of toluidine blue dye would
10         have been to support B.R.’s statement that Petitioner did not penetrate
11         her with his finger. Thus, trial counsel may have determined that such
           testimony would undermine the consent defense and risk the State
12         introducing Petitioner’s own admissions to the police.
13
           Petitioner also cannot show that he was prejudiced by this decision. At
14
           trial, Nurse Crocker testified that toluidine blue dye uptake would
15         only occur in ‘acute,’ or recent, injuries. Petitioner refers to two
16         articles relating to the effects of toluidine blue dye and the prevalence
           of genital injury resulting from sexual assaults to indicate how an
17         expert witness might have testified. Specifically, Petitioner cites to
18         portions of the articles stating that some sexual assault victims,
           examined seventy-two hours after the assault, had vulvo-vaginal
19         injuries, and that toluidine blue dye can adhere to an injury forty-eight
20         hours after the injury occurred. Based on this timeline, Petitioner
           argues that ‘[t]his evidence would establish that the microscopic
21
           abrasion occurred prior to the alleged assault committed by the
22         Defendant, and supported [B.R.]’s testimony that no penetration
23         occurred.’

24         However, Petitioner’s argument is unsupported. First, assuming an
25         expert witness secured by trial counsel would have testified consistent
           with the articles referenced by Petitioner, that testimony would not
26         have contradicted Nurse Crocker’s testimony that the dye only
27         adheres to ‘acute’ injuries. In her testimony, she did not specify how
           recently an injury must have occurred for her to consider it an ‘acute’
28
           injury. But more importantly, the fact that genital injuries can be

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 1         observed using toluidine blue dye forty-eight hours after a sexual
 2         assault does not establish that the abrasion found on B.R. actually
           occurred forty-eight hours prior to the examination by Nurse Crocker.
 3         It does not, as Petitioner argues, establish that the injury occurred
 4         prior to the sexual assault of B.R. In fact, such testimony would have
           been consistent with the timeline established in the case because the
 5
           examination occurred within forty-eight hours of the assault.
 6
 7         Expert testimony relating to possible alternative causes of an injury
           like the one sustained by B.R. would also have been duplicative. Trial
 8         counsel was able to elicit testimony from Nurse Crocker that such an
 9         injury could also occur as the result of friction or consensual
           intercourse. Thus, the jury was aware that the injury could have had a
10         cause other than sexual assault.
11
           Moreover, based on the available evidence, as well as the nature of the
12
           offense, trial counsel was limited in the inferences she could have
13         drawn from such testimony at trial. Under A.R.S. § 13-1421,
14         commonly known was the ‘Rape Shield’ statute, trial counsel can
           introduce evidence of other specific instances of sexual activity
15         showing the source of trauma ‘only if an issue in the case and that the
16         inflammatory or prejudicial nature of the evidence does not outweigh
           the probative value of the evidence.’ Trial counsel would have had to
17         first present that evidence at a hearing at which the standard for
18         admissibility of the evidence would be clear and convincing evidence.
           Id. However, Petitioner had no evidence that the victim had engaged
19
           in sexual activity with any other person prior to the assault.
20
21         In sum, Petitioner fails to show that an expert witness testifying about
           the use of toluidine blue dye in detecting sexual assault related
22         injuries would have been able to provide any testimony that might
23         have altered the outcome of the trial.
24   (Doc. 8 at Ex. C. at pp. 5-6.) (Footnotes omitted.) As with Ground One, this Court

25   determines that the state court’s analysis contained in its order denying Petitioner’s

26   PCR petition is not an unreasonable application of Strickland. As such, Petitioner
27   is not entitled to habeas relief on Ground Two of his Petition.

28         Ground Three: Lastly, in Ground Three, Petitioner alleges that his Fifth


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 1   Amendment rights were violated when his trial counsel failed to have his trial
 2   completed by a particular jury as to Counts 8 and 9 of the Indictment. (Doc. 1 at p.
 3   8.) Under Strickland, “a court need not determine whether counsel’s performance
 4   was deficient before examining the prejudice suffered by [Petitioner] as a result of
 5   the alleged deficiencies.” Strickland, 466 U.S. at 697. “[I]f it is easier to dispose of
 6   an ineffectiveness claim on the ground of lack of sufficient prejudice…that course
 7   should be followed.” Id. The Ninth Circuit explained, “[i]n short, a court need not
 8   address the two Strickland prongs in order; if ruling on the prejudice prong more
 9   efficiently resolves the case, reaching the deficiency prong is unnecessary.”
10   Andrews, 798 F.3d at 774.
11         Here, the Court determines that the trial court did not unreasonably apply
12   Strickland when it disposed of Petitioner’s IAC claim on the prejudice prong of
13   Strickland. In rejecting Petitioner’s claim, the trial court reasoned:
14
           Finally, Petitioner argues that trial counsel was ineffective for failing
15         to inform Petition of his right to have his trial completed by a
16         particular tribunal on counts eight and nine, and for failing to object
           when the trial court declared a mistrial as to those counts. The Double
17         Jeopardy Clause of the United States Constitution protects a
18         defendant’s “valued right to have his trial completed by a particular
           tribunal.” State v. Reeves, 233 Ariz. 182, 5, 185, 310 P.3d 970, 973
19
           (2013) (quoting United States v. Dinitz, 424 U.S. 600, 606 (1976)).
20         However, it does not prevent the declaration of a mistrial when a jury
21         cannot reach a verdict. Id. In that case double jeopardy does not bar
           retrial. Richardson v. United States, 468 U.S. 317, 324-36 (1984).
22
23         Here, Petitioner cannot demonstrate that he was prejudiced as a result
           of trial counsel’s conduct. Petitioner argues that because trial counsel
24         did not inform him that he had a right to have this particular jury
25         decide those counts if the jury was not genuinely deadlocked, his
           agreement to a mistrial did not include those counts. However,
26
           jeopardy could continue after the jury was dismissed without
27         returning a verdict on those counts even if Petitioner did not consent if
28         the State demonstrated manifest necessity, which the State may do by
           demonstrating that the jury is genuinely deadlocked. See State v.

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 1   Espinoza, 233 Ariz. 176, ¶ 9, 310 P.3d 52, 56 (App. 2013). Even if
 2   trial counsel had informed Petitioner of his right to have his trial
     completed by a particular tribunal on counts eight and nine, and he
 3   refused to consent to continuing jeopardy on those counts, jeopardy
 4   would still have continued when the trial court found manifest
     necessity because the jury was deadlocked as to all remaining counts,
 5
     including counts eight and nine.
 6
 7   Nor would the outcome have been different if trial counsel had
     objected when the trial court declared a mistrial. To the extent that
 8   Petitioner argues that the State did not demonstrate manifest necessity
 9   because the jury did not specifically state that it was hopelessly
     deadlocked as to counts eight and nine in its note, the Court of
10   Appeals noted that even though the jury’s note did not include counts
11   eight and nine, nothing suggested that those counts were among those
     on which agreement had been reached, and the trial court asked
12
     whether further deliberation would have resulted in acquittals on
13   counts eight and nine. In the second trial, the jury found Petitioner
14   guilty on all remaining counts.

15   ‘If counsel is charged with multiple errors at trial, absence of
16   prejudice is not established by demonstrating that no single error
     considered alone significantly impaired the defense prejudice may
17   result from the cumulative impact of multiple deficiencies.’ Cooper v.
18   Fitzharris, 586 F.2d 1325, 1333 (9th Cir. 1978). However, even if all
     of the errors alleged by Petitioner were remedied to Petitioner’s
19
     satisfaction, the Court finds that there is not a reasonable probability
20   that the outcome would have been altered.
21
     Petitioner does not argue that trial counsel’s conduct prejudiced him
22   as to all counts against him. Rather, Petition focuses on count one,
23   related to B.R., and counts eight and nine, related to C.M. Regarding
     count one, even if trial counsel’s alleged errors were fixed, not only
24   would it not have resulted in the admission of new exculpatory
25   evidence not originally before the trial court and the jury, but the State
     would likely have introduced Petitioner’s own inculpatory statement
26
     to police. Furthermore, the alleged errors related to count one and the
27   alleged errors related to counts eight and nine would not have
28   impacted each other as they pertained to separate victims and separate
     stages of the trial.

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 1   (Doc. 1 at Ex. C at pp. 6-8.)
 2          The state court’s application of Strickland in rejecting Petitioner’s IAC
 3   claim was not an unreasonable application of federal law. Accordingly, Petitioner
 4   is not entitled to habeas relief on Ground Three of his Petition.
 5          In sum, Petitioner is not entitled to relief on any of the three grounds for
 6   relief asserted in his Petition.
 7                                      Recommendation
 8          Based on the foregoing, the Magistrate Judge recommends the District Court
 9   DISMISS the Petition for Writ of Habeas Corpus.
10          Pursuant to Federal Rule of Civil Procedure 72(b)(2), any party may serve
11   and file written objections within fourteen days of being served with a copy of the
12   Report and Recommendation. A party may respond to the other party=s objections
13   within fourteen days. No reply brief shall be filed on objections unless leave is
14   granted by the district court. If objections are not timely filed, they may be deemed
15   waived. If objections are filed, the parties should use the following case number:
16   16-CV-0337-JAS.
17          Dated this 20th day of November, 2017.
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